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Case 1:05-cr-01849-JCH Document102 Filed 09/07/05 eT of 1
AO 100 (7/93) Agreement to Forfeit Property

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United States District Coutt!°'¥®.new iicxico"
District of New Mexico SEP 07 7008

UNITED STATES OF AMERICA REDACTED AGREEMENT TO FORFEIT PROPERTY
V. Case Number: MAT BHEW J. DYKMAN
MANUEL VINCENTE GIL-VAZQUEZ CLERK |
:
Defendant

I/we, the undersigned, acknowledge pursuant to 18 U.S.C. § 3142(c) (£) (B) (xi) in consideration of the release of the
defendant that {/we and my/our personal representatives jointly and severally agree to forfeit to the United States of America the
following property:

All equity in defendant's home and land

and there has been posted with the Court the following indicia of my/our ownership of the property:

SEE ATTACHED ~— (2 separate properties) i

Hwe further declare under penalty of perjury that I am/we arc the sole owner(s) of the property described above and that
the property described above is not subject to any lien, encumbrance, or claim of right or ownership except my/our own, that
imposed by this agreement, and those listed below:

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and that I/we will not alienate, further encumber, or otherwise willfully impair the value of my/our interest in the property.
. oi

The conditions of this agreement are that the defendant MANUEL VINCENTE GIL-VAZQUEZ:
(name)
is to appear before this Court and at such other places as the defendant may be required to appear, in accordance with any and all
orders and directions relating to the detendant’s appearance in this case, including appearance for violation of a condition of
defendant's release as may be ordered or notified by this court or any other United States Court to which the defendant may be
‘held to answer or the cause transferred, The defendant is to abide by any judgment entered in such matter by surrendering to
serve any sentence imposed and obeying any order or direction in connection with such judgment.

it is agreed and understood that this is a continuing agreement (including any proceedings on appeal or review) which
shall continue until such time as the undersigned are exonerated.

Ifthe defendant appears as ordered or notified and otherwise obeys and performs the foregoing conditions of this
agreentent, then this agreement is to be void, but if the defendant fails to obey or perform any of these conditions, the property
described in this agreement shall immediately be forfeited to the United States. Forfeiture under this agreement for any breach af
tts conditions may be declared by any United States District Court having cognizance of the above entitled matter at the time of
such breach, and if the property is forfeited and if the forfeiture is not sct aside or remitted, judgment may be entercd upon motion
in such United States District Court against each debtor jointly and severally for forfeiture of the property together with interest
and costs, and execution may be issued and the property sccured as provided by the Federal Rules of Criminal Procedure and any
other laws of the United States of America

This agreement is signed on 7 -- OS” at Albuquerque, New Mexico
(datc) {place} :

Vv did eee p ee Address

(YSN: - _
Address . _

Obligor () wis s Gil SSN: Address

t .
LiL __ Address .-—~:

Defendant LE) CP tf
el Gil

Owner (s)/ x3

ertha A. Gil SSN:

| ( A Approved: ¥ [bee Oo" ferg (hifter

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